       Case 9:23-cv-00061-DWM Document 137 Filed 05/15/24 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

SAMANTHA ALARIO, et al.,                               Lead Case No.
                                                     CV 23–56–M–DWM
                  Plaintiffs,
      and                                             Member Case No.
                                                     CV 23–61–M–DWM
TIKTOK INC.,

                 Consolidated Plaintiff,                    ORDER

vs.

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,

                   Defendant.


      The parties have jointly moved for a stay of proceedings pending the

adjudication of Consolidated Plaintiff TikTok Inc.’s constitutional challenge to the

Protecting Americans from Foreign Adversary Controlled Applications Act, which

is pending in the United States Court of Appeals for the District of Columbia

Circuit. (Doc. 134.)

      IT IS ORDERED that the motion (Doc. 134) is GRANTED. Proceedings in

this case shall be stayed pending resolution of Consolidated Plaintiff’s petition for

review in the D.C. Circuit of the Protecting Americans from Foreign Adversary



                                           1
       Case 9:23-cv-00061-DWM Document 137 Filed 05/15/24 Page 2 of 2



Controlled Applications Act. The stay will be lifted if this Court’s preliminary

injunction Order (Doc. 113) is reversed by the United States Court of Appeals for

the Ninth Circuit. (See Doc. 119.)

      IT IS FURTHER ORDERED that the parties shall file a status report within

30 days of the final adjudication of the D.C. Circuit action.

      DATED this 15th day of May, 2024.



                                              _________________
                                              ___________________________
                                              Donald
                                              Donalld W.
                                                      W. Molloy,
                                                          Moollooy District Judge
                                              United
                                              Uniteed States District
                                                      States Disst    Court




                                          2
